Case 0:22-cr-60118-RS Document 42 Entered on FLSD Docket 07/17/2023 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                         CASE NO.: 22-60111-CR-SMITH
                                   22-60118-CR-SMITH


 UNITED STATES OF AMERICA,

       Plaintiff,
 vs.

 JOHANAH NAPOLEON,

       Defendant.
                                        /

       DEFENDANT’S SENTENCING MEMORANDUM AND REQUEST FOR
                       DOWNWARD VARIANCE

       The Defendant, JOHANAH NAPOLEON, by and through her undersigned

 attorney files this Sentencing memorandum and request for Downward variance

 and states the following:

                                FORFEITURE

       Per her Plea Agreements the defendant has agreed to forfeit the sum of

 $250,000.00 in case no.: 22-cr-60111 and the sum of $3,205,414.00 in case no.:

 23-cr-60118. To satisfy said forfeiture obligation the defendant has sold several

 real properties and has three additional real properties currently under contract.

 At present undersigned counsel has in his trust account the sum of

 $2,596,851.91 from the sale of the defendant’s real properties. Of the three real

 properties under contract, one is scheduled to close at the end of July. Said

 closing was extended several times because the tenant refused to leave the

 premises and an eviction proceeding had to be filed and litigated. The other two

 (2) properties are scheduled to close on August 8, 2023, and August 11, 2023.
Case 0:22-cr-60118-RS Document 42 Entered on FLSD Docket 07/17/2023 Page 2 of 3




 The net proceeds from the three closings will be sufficient to allow the defendant

 to satisfy her entire forfeiture obligation in full.

              REQUEST FOR DOWNWARD VARIANCE

        Section 3553(a) requires this Court to impose a sentence that is

 “sufficient, but not greater than necessary”. The defendant’s guideline range,

 which the defense argues in its Objections, is 41 to 51 months imprisonment.

 This guideline range is excessive and substantially overrepresents a fair,

 reasonable, and necessary sentence for the offenses in light of the defendant’s

 history and characteristics. The defendant has been debriefed; has cooperated

 to the best of her ability; and has accepted responsibility. The defendant is a 47

 year old mother of two (2) with no criminal convictions. She is not a dangerous

 violent offender who must be incarcerated for a lengthy term of incarceration to

 protect the community and deter her from future criminal conduct. She

 immigrated to the United States in 1992 and began working in the health care

 field as a registered chiropractic assistant. Afterwards she began working with

 Medlife Institute and eventually owned and operated her own nursing schools.

       Since being arrested and charged, Ms. Napoleon was ordered to refrain

 from any involvement or work in the healthcare field. She has abided by this

 condition of her release and has continued to try to educate herself in other fields

 to prepare for her and her family’s future. She has enrolled and been attending

 classes at Latin Beauty Academy and has obtained her license as a Facial

 Specialist. She is also in the process of obtaining her license as a nail specialist.

 She has evidenced her determination to learn and work to better herself and
Case 0:22-cr-60118-RS Document 42 Entered on FLSD Docket 07/17/2023 Page 3 of 3




 provide for her family.

       After her arrest, Ms. Napoleon quickly agreed to cooperate and accept

 responsibility for her conduct. Her cooperation is ongoing, and she will be

 testifying as a government witness in at least one pending trial. Her cooperation

 will be addressed later after it has been completed and the government has filed

 the appropriate motion. This Court must decide on a sentence that is reasonable

 and sufficient but not greater than necessary. Punishment, deterrence,

 treatment, rehabilitation, and protection of the community can all be satisfied

 by a reasonable sentence below the guideline range.

       WHEREFORE, the Defendant requests this Honorable Court to grant this

 request and impose a sentence below the guideline range.

       I HEREBY CERTIFY that a true and correct copy of the foregoing was

 filed electronically this 17 day of July 2023.

                                                  Respectfully submitted,

                                                  BY:   s/s Joel DeFabio

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